             IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF MISSOURI
                          SOUTHERN DIVISION

MICHAEL GRAY,                                )
Individually And On Behalf Of                )
All Others,                                  )
                                             )
       Plaintiffs,                           )
                                             )      Case No.: 6:18-cv-3335
vs.                                          )
                                             )      JURY TRIAL DEMANDED
COMMUNICATION SOLUTIONS                      )
AND TECHNOLOGY, INC.                         )
Registered Agent:                            )
David K Sanford, CPA                         )
1655 S. Enterprise, Ste. B-4                 )
Springfield, MO 65804                        )
                                             )
       Defendant.                            )

                                     COMPLAINT

       COMES NOW the Plaintiff, Michael Gray, by and through his attorneys, and

brings the following class action petition against Defendant, Communication Solutions

and Technology, Inc., ("Defendant"), pursuant to the Fair Credit Reporting Act

("FCRA").

                          PRELIMINARY STATEMENTS

1.     Plaintiff brings this action against Defendant for violations of the FCRA.

2.     Defendant obtained information concerning the Plaintiff from HireRight.

3.     Defendant paid a fee to HireRight for the information it obtained concerning the

       Plaintiff.

4.     The information obtained from HireRight concerning the Plaintiff was a consumer

       report (as a consumer report is defined pursuant to the FCRA).

5.     Defendant relies on information in consumer reports to make decisions regarding




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      prospective or current employees.

6.    Defendant relies on information in a consumer report, in whole or in part, as a

      basis for adverse employment action; such as a refusal to hire and/or termination.

7.    Plaintiff asserts FCRA claims against Defendant on behalf of himself and a class

      of Defendant’s employees and prospective employees whose rights under the

      FCRA were violated.

8.    On behalf of himself and all class members, Plaintiff seeks statutory damages,

      punitive damages, costs and attorneys fees, and all other relief available pursuant

      to the FCRA.

                                       PARTIES

9.    Plaintiff is a resident of Springfield, Missouri.    Plaintiff is a member of the

      Putative Class defined below.

10.   Defendant is a domestic company doing business in Missouri and throughout the

      United States.

                             JURISDICTION AND VENUE

11.   This court has jurisdiction over Plaintiff’s FCRA claim pursuant to 28 U.S.C. §

      1331.

12.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391. Plaintiff resides in

      Springfield, Missouri, applied to work for Defendant in Springfield, Missouri, and

      her claims arise, in substantial part, in Springfield, Greene County, Missouri.

13.   Defendant regularly conducts business in Missouri and is subject to personal

      jurisdiction in this district.

                              FACTUAL ALLEGATIONS




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14.   Plaintiff incorporates the foregoing paragraphs as if fully set forth herein.

15.   Plaintiff applied online for employment with Defendant in or about August 2018.

16.   Plaintiff received a call from a woman, a representative for Defendant, who asked

      the Plaintiff a couple of questions and told Plaintiff they were running a

      background check on him.

17.   Plaintiff went in for an interview, with the same woman who called him, on or

      about August 31, 2018.

18.   Plaintiff was told by the Defendant at the interview that they were running

      another background check on the Plaintiff.

19.   Plaintiff told the interviewer about his criminal convictions.

20.   Plaintiff was told by the interviewer that the background check would only go

      back seven years.

21.   Plaintiff was told at the interview that he was hired and orientation was on

      September 4, 2018.

22.   Plaintiff filled out employment paperwork after the interview.

23.   Plaintiff was informed that any investigation into his criminal history would be

      limited to seven years.

24.   Plaintiff did not authorize the Defendant to investigate his criminal history

      beyond seven years.

25.   The Defendant did not have authorization to obtain a consumer report regarding

      his criminal history beyond seven years.

26.   The Defendant obtained a consumer report on the Plaintiff in violation of the

      FCRA.




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27.   Plaintiff worked for the Defendant from on or about September 4, 2018, through

      on or about September 17, 2018.

28.   On or about September 17, 2018, Plaintiff was asked by a supervisor, Bernie, if he

      could switch to the 1pm to 10pm shift.

29.   Plaintiff told Bernie he could not switch.

30.   Bernie returned shortly thereafter and told the Plaintiff to log off the computer.

31.   Plaintiff was escorted by Bernie to an office where another employee, believed to

      be named Shelly, told Plaintiff he was being fired because of information in his

      background report.

32.   Plaintiff did not know what was in the report.

33.   Plaintiff did not know if the report was accurate.

34.   Plaintiff was not given a proper opportunity to contest the report.

35.   The report obtained by the Defendant, concerning the Plaintiff, was a consumer

      report.

36.   Denying the Plaintiff a job because of information in his consumer report is an

      adverse action (as an adverse action is defined pursuant to the FCRA).

37.   Plaintiff was not provided with a reasonable amount of time to contest or explain

      the information contained in the consumer report.

38.   Plaintiff was not provided with an FCRA summary of rights prior to the adverse

      action that was based upon his consumer report.

39.   Plaintiff was not provided with a copy of his consumer report prior to the adverse

      action.

40.   Plaintiff did not understand his FCRA rights and did not know how or if he could




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      challenge the adverse action.

41.   Defendant’s sudden termination of employment caused the Plaintiff to suffer

      stress and anxiety.

42.   Defendant’s denial of employment prior to the receipt of the consumer report and

      the FCRA Summary of Rights left the Plaintiff confused regarding the ability to

      challenge the consumer report.

43.   Plaintiff could have addressed the report if given the proper opportunity.

44.   Plaintiff may have been able to keep his job if given the opportunity to address

      the consumer report prior to his termination.

45.   The consumer report was not accurate.

46.   The consumer report was misleading.

47.   The consumer report indicated that the Plaintiff had suffered criminal charges in

      the last seven years.

48.   Plaintiff has not suffered criminal charges in the last seven years.

49.   Plaintiff has not been charged with any felony criminal charges in the last seven

      years.

50.   Plaintiff has not been convicted of any felony criminal charges in the last seven

      years.

51.   Plaintiff has not pled guilty to any felony criminal charges in the last seven years.

52.   The consumer report obtained by the Defendant from HireRight indicated that the

      Plaintiff has felony criminal charges in the last seven years.

53.   The consumer report produced by HireRight was inaccurate and misleading.

54.   Defendant is not a trucking company.




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55.   Defendant did not allow the Plaintiff an opportunity to review the information

      contained within the consumer report and respond before the adverse action.

56.   Plaintiff was deprived of a chance to obtain the benefits set forth by 15 U.S.C.

      §1681b(b)(3).

57.   Defendant contracted with the third party providing consumer reports that it

      would provide a copy of the consumer report and a copy of the FCRA Summary

      of Rights before any adverse action was taken based in whole or in part on

      information contained within a consumer report.

58.   The agreements made between the Defendant and the consumer reporting agency

      contain promises that require the Defendant to abide by the protections provided

      by 15 U.S.C. §1681b(b)(2) and b(b)(3).

59.   Defendant is aware of the FCRA.

60.   Defendant has knowledge that it must comply with the FCRA.

61.   The FCRA creates a de facto contract between the Plaintiff and the Defendant that

      if the Defendant accesses a Plaintiff’s private information contained in a

      consumer report then the Defendant will abide by the requirements of 15

      U.S.C.§1681b(b)(3).

62.   Defendant obtained Plaintiff’s and other individual’s private information

      contained in consumer reports but violated the provisions of the FCRA and

      breached the de facto contract created by the Act.

63.   Despite having knowledge of the requirements of the FCRA, Defendant failed to

      comply with the FCRA.

64.   Defendant's failure to provide the Plaintiff with a copy of the consumer report, a




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      reasonable notice period in which to challenge any inaccuracy in the consumer

      report, or a written description of rights under the FCRA prior to the adverse

      action, constitutes multiple violations of the FCRA.

65.   Defendant's violations of the FCRA combined with its knowledge of the

      requirements of the FCRA is evidence that the Defendant's violations were

      willful.

66.   The manner in which the Defendant obtained a consumer report on the Plaintiff is

      consistent with its policies and procedures governing the procurement of

      consumer reports on individuals for employment purposes.

                             CLASS ACTION ALLEGATIONS

67.   Plaintiff incorporates the foregoing paragraphs as if fully set forth herein.

68.   Plaintiff asserts the following proposed classes defined as:

      Adverse Action Class: All individuals that suffered an adverse employment
      action on or after October 11, 2016, that was based, in whole or in part, on
      information contained in a consumer report, and who were not provided a copy of
      the report, a reasonable notice period in which to challenge the consumer report in
      advance of said adverse employment action by the Defendant.

      Authorization Class: All individuals in which the Defendant obtained a
      consumer report that contained information that exceeded the scope of
      authorization obtained by the Defendant from October 11, 2013, through the
      conclusion of this matter.


                                      Numerosity

69.   The proposed class is so numerous that joinder of all class members is

      impracticable. Defendant regularly obtains and uses information in consumer

      reports to evaluate individuals for employment purposes. Defendant relies on the

      information contained it said consumer reports, in whole or in part, as a basis for




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      adverse employment action. Given the nature of Defendant’s business, Plaintiff

      believes that during the relevant time period, a sufficient number of individuals

      would fall within the definition of the class.

                        Common Questions of Law and Fact

70.   Virtually all of the issues of law and fact in this class action or, to the class

      predominate over any questions affecting individual class members. Among the

      questions of law and fact common to the class are:

                  a. Whether Defendant uses information obtained from consumer
                     reports to evaluate employees and prospective employees;

                  b. Whether the Defendant obtained consumer reports that contained
                     information beyond the scope of authorization given;

                  c. Whether Defendant violated the FCRA by taking adverse action
                     against Plaintiff and other members of the Adverse Action class
                     on the basis of information in a consumer report, without first
                     providing a copy of the report to the affected individuals;

                  d. Whether the Defendant violated the FCRA by failing to provide
                     the Plaintiff and other members of the Adverse Action Class with
                     a reasonable amount of time to contest any inaccuracy within the
                     consumer report prior to the adverse employment action;

                  e. Whether Defendant's violations of the FCRA were willful;

                  f. The proper measure of statutory damages and punitive damages.

                                       Typicality

71.   Plaintiff’s claims are typical of the members of the proposed class. The FCRA

      violations suffered by Plaintiff are typical of those suffered by other class

      members. Defendant typically uses consumer reports to take adverse actions but

      fails to provide the consumer a copy of the report before taking an adverse

      employment action based on information contained in said report. The Defendant




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      also obtains consumer reports that contain information beyond the scope of

      authorization obtained. The FCRA violations suffered by Plaintiff are typical of

      those suffered by other class members and the Defendant treated Plaintiff

      consistent with other Putative Class members in accordance with its standard

      policies and practices.

                                Adequacy of Representation

72.   Plaintiff, as representative of the class, will fairly and adequately protect the

      interests of the class and has no interest that conflict with or are antagonistic to

      the interest of the class members. Plaintiff has retained attorneys competent and

      experienced in class action litigation. No conflict exists between Plaintiff and

      members of the class.

                                         Superiority

73.   A class action is superior to any other available method for the fair and efficient

      adjudication this controversy, and common questions of law and fact

      overwhelmingly predominate over individual questions that may arise.

74.   This case is maintainable as a class action under Fed. R. Civ. P. 23(b)(1) because

      prosecution of actions by or against individual members of the putative class

      would result in inconsistent or varying adjudications and create the risk of

      incompatible standards of conduct for Defendant. Further, adjudication of each

      individual class member’s claim as a separate action will potentially be

      dispositive of the interest of other individuals not a party to such action, impeding

      their ability to protect their interests.

75.   This case is maintainable as a class action under Fed. R. Civ. P. 23(b)(2) because




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       Defendant has acted or refused to act on grounds that apply generally to the class,

       so that any final relief is appropriate respecting the class as a whole.

76.    Class certification is also appropriate under Fed. R. Civ. P. 23(b)(3) because

       questions of law and fact common to the putative class predominate over any

       questions affecting only individual members of the putative class, and because a

       class action superior to other methods for the fair and efficient adjudication of this

       litigation. Defendant's conduct described in this Complaint stems from common

       and uniform policies and practices, resulting in common violations of the FCRA.

       Members of the Putative Class do not have an interest in pursuing separate actions

       against the Defendant, as the amount of each class member's individual claims is

       small compared to the expense and burden of individual prosecution. Class

       certification also will obviate the need for unduly duplicative litigation that might

       result the inconsistent judgments concerning Defendant’s practices. Moreover,

       management of this action as a class action will not present any likely difficulties.

       In the interests of justice and judicial efficiencies, it would be desirable to

       concentrate the litigation of all putative class members' claims in a single forum.

77.    Plaintiff intends to send notice to all members of the putative class to the extent

       required by Rule 23. The names and address of the potential class members are

       available from Defendant's records.

                                  FCRA VIOLATIONS

78.    Plaintiff incorporates the foregoing paragraphs as if fully set forth herein.

79.    Defendant obtained a "consumer report," as defined by the FCRA, concerning the

       Plaintiff.




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80.    Defendant used information from a consumer report, as defined by the FCRA, as

       a basis to take adverse employment action against the Plaintiff, and on

       information and belief, other members of the adverse action class.

81.    Defendant violated the FCRA by failing to provide Plaintiff, and other adverse

       action class members, with a copy of the consumer report that was used to take

       adverse employment action against them prior to the adverse action.

82.    Defendant violated the FCRA by failing to provide the Plaintiff and other adverse

       action class members with a reasonable time to contest any inaccuracies within

       the consumer reports prior to the adverse action.

83.    Defendant violated the FCRA by exceeding the scope of authorization they

       obtained from the Plaintiff and other individuals.

84.    Had the Defendant not exceeded the authorization from the Plaintiff, Plaintiff

       would have maintained his employment.

85.    Had Defendant complied with the FCRA, Plaintiff would have been given a copy

       of the Summary of Rights.

86.    Had Defendant complied with the FCRA, Plaintiff would have been given more

       time to review, dispute and/or address the information contained in the consumer

       report.

87.    Plaintiff was not provided with a reasonable amount of time to challenge any

       inaccuracy that was present within the consumer report before being denied

       employment.

88.    Plaintiff was not provided with a FCRA Summary of Rights prior to the adverse

       action that was based in whole or in part upon the consumer report.




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89.    The Defendant’s failure to provide the Plaintiff a copy of the consumer report or

       the FCRA Summary of Rights denied the Plaintiff a meaningful opportunity to

       address the information contained within the consumer report.

90.    Being provided a copy of the consumer report before termination, in compliance

       with the FCRA, would have helped the Plaintiff understand what information the

       Defendant was using against him.

90.    A copy of the Summary of Rights before denied employment would have helped

       the Plaintiff understand what his rights were and would have provided valuable

       information that may have assisted the Plaintiff in maintaining employment.

91.    Defendant’s failure to comply with the unambiguous mandates of the FCRA

       injured the Plaintiff.

92.    The foregoing violations were willful. Defendant acted in deliberate or reckless

       disregard of its obligations and rights of Plaintiff and other adverse action class

       members under the provisions of the FCRA. Defendant's willful conduct is

       reflected by, among other things, the following facts:

               a.      Defendant has access to legal advice through outside employment
                       counsel;

               b.      Defendant committed multiple violations of the FCRA by not
                       providing the Plaintiff with a copy of the consumer report, and not
                       providing the Plaintiff with a reasonable notice period to cure
                       inaccuracies before taking adverse employment action as mandated
                       by the FCRA;

               c.      The Defendant has ignored regulatory guidance from FTC
                       Informal Staff Opinions and the unambiguous language of the
                       FCRA; and

               d.      15 U.S.C. §1681b(b)(1) required the Defendant to certify that it
                       would comply with the pre-adverse notice requirements of 15
                       U.S.C. §1681b(b)(3).




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93.    Plaintiff and the proposed class members are entitled to statutory damages of not

       less than $100 and not more than $1000 for each and every one of these

       violations, pursuant to 15 U.S.C. §1681n(a)(1)(A).

94.    Plaintiff and the proposed class members are also entitled to punitive damages for

       these violations, pursuant to 15 U.S.C. §1681n(a)(2).

95.    Plaintiff and the proposed class members are further entitled to recover their costs

       and attorneys’ fees, pursuant to 15 U.S.C. §1681n(a)(3).

       WHEREFORE, the Plaintiff respectfully requests that this Court issue an Order

for the following:

       a.      An Order that this action may proceed as a class action under Rule 23 of

               the Federal Rules of Civil Procedure;

       b.      Order designating Plaintiff as class representative and designating

               Plaintiff’s counsel as counsel for the Putative Class;

       c.      Order directing proper notice to be mailed to the Putative Classes at

               Defendant's expense;

       d.      Order finding that Defendant committed multiple, separate violations of

               the FCRA;

       e.      Order finding that Defendant acted willfully in deliberate or reckless

               disregard of Plaintiff’s rights and its obligations of the FCRA;

       f.      Order awarding statutory damages and punitive damages as provided the

               FCRA;

       g.      Order awarding reasonable attorneys’ fees and costs as provided by the

               FCRA; and




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       h.      Order finding that the Defendant breached an implied contract that they

               would comply with the FCRA if provided a copy of Plaintiff’s consumer

               report;

       i.      Order granting other and further relief, in law or equity, as this Court may

               deem appropriate and just.

                                 Demand for Jury Trial

       Plaintiff hereby demands a jury trial on all causes of action and claims with

respect to which Plaintiff and all members of the proposed class have a right to jury trial.

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